                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )          No. 3:13-cr-0097-3
                                                 )          Judge Sharp
RASHAD WOODSIDE                                  )

                               MEMORANDUM AND ORDER

       Pending before the Court is the government’s “Motion Appealing Release Order,”

(Docket No. 157), which the Court takes as a motion for revocation of the Magistrate Judge’s

order releasing Defendant pending trial, subject to certain conditions set by the Magistrate Judge,

and setting bond. See 18 U.S.C. § 3145(a). The government also requests a second evidentiary

hearing on the issue of detention. The motion has been fully briefed, and the Court has reviewed

the Magistrate Judge’s decision de novo. See United States v. Ellis, 12-cr-20228, Slip Op. at *3,

2012 WL 3542495 (E.D. Mich. Aug. 16, 2012). A second evidentiary hearing is unnecessary.

       Pretrial detention is required if the Court finds that “no condition or combination of

conditions will reasonably assure the appearance of the person as required and the safety of any

other person and the community.” 18 U.S.C. § 3142(e). The Government has the ultimate

burden of proof by clear and convincing evidence. United States v. Hazime, 762 F.2d 34, 37 (6th

Cir.1985). If the Court finds that there is probable cause to believe that Defendant committed an

offense with a maximum term of imprisonment of ten or more years under the Controlled

Substances Act, a rebuttable presumption arises in favor of pretrial detention. 18 U.S.C. §

3142(e)(3)(A). Defendant then has a burden of production to proffer “‘evidence that he does not

pose a danger to the community or a risk of flight.’” U.S. v. Stone, 608 F.3d 939, 945 (6th Cir.

2010) (quoting United States v. Mercedes, 254 F.3d 433, 436 (2d Cir. 2001)). Even if Defendant




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produces some evidence to rebut the presumption, “the presumption favoring detention does not

disappear entirely, but remains a factor to be considered among those weighed by the district

court.” Id.; see also Ellis, Slip Op. at *3 (citation omitted).

       The Court considers several factors when determining if the government has met its

burden:

               (1) the nature and circumstances of the offense charged, including whether

       the offense is a crime of violence, . . . a Federal crime of terrorism, or involves a

       minor victim or a controlled substance, firearm, explosive, or destructive device;

               (2) the weight of the evidence against the person;

               (3) the history and characteristics of the person, including-

               (A) the person’s character, physical and mental condition, family ties,

       employment, financial resources, length of residence in the community,

       community ties, past conduct, history relating to drug or alcohol abuse, criminal

       history, and record concerning appearance at court proceedings; and

               (B) whether, at the time of the current offense or arrest, the person was on

       probation, on parole, or on other release pending trial, sentencing, appeal, or

       completion of sentence for an offense under Federal, State, or local law; and

               (4) the nature and seriousness of the danger to any person or the

       community that would be posed by the person’s release . . . .

18 U.S.C. § 3142(g).

       In denying the government’s request for pretrial detention, the Magistrate Judge found

that there were “a combination of conditions which will assure the defendant’s presence at trial

and other court proceedings and which will also reasonably assure the safety of the community



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and the individuals in the community.” (Docket No. 190 at 48). The Magistrate Judge stated

that the conditions placed on Defendant’s release pending trial included “a very comprehensive

multi-faceted bond which is designed to give the government a very significant comfort level.”

(Id.) He noted the government’s engagement in “extensive discussions” with Defendant “for a

result other than pretrial detention.” (Id. at 49). And he found for the record that Defendant had

a long history in the community, “virtually no prior criminal history,” no felony convictions,

approximately 19 family and friends in the courtroom, owned his own business, and was not a

flight risk. (Id. at 49-50). He also noted that, while apparently knowing that he was under

investigation, Defendant went to Atlanta and “then returned to South Florida to confront the

reality of the investigation, which is a development inconsistent with someone who is intending

to flee.” (Id. at 51-51).

        After reviewing the record de novo, the Court finds that the government failed to meet its

burden by clear and convincing evidence. Under 18 U.S.C. § 3142(e), a rebuttable presumption

is triggered that “no condition or combination of conditions will reasonably assure the

appearance of the person as required and the safety of the community if the judicial officer finds

there is probable cause to believe that the person committed an offense for which a potential

maximum term of ten years or more is prescribed by the Controlled Substances Act, 21 U.S.C. §

801 et seq.” United States v. Lattner, 23 F. App’x 363, 364 (6th Cir. 2001). While “[t]he

indictment is sufficient to support a finding of probable cause triggering the rebuttable

presumption,” id. (citing United States v. Hazime, 762 F.2d 34, 37 (6th Cir. 1985)), in this case it

is Defendant’s statements in custody, as testified to by DEA Special Agent Barrington Robinson

at the June 7 hearing and corroborated by a co-defendant, that provide probable cause to believe

he is eligible for a sentence of 97 to 121 months, and possibly more. See U.S. Sentencing



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Guidelines § 2D1.1; (Docket Nos. 185 at 2 & 190 at 23-24, 27). Accordingly, the Court finds

that the presumption is triggered.

       However, Defendant satisfied his burden of producing “some evidence tending to

demonstrate” that he is not a danger to the community or a flight risk. See Stone, 608 F.3d at

945-47. He lacks a significant criminal history. The two guns recovered from his home were

found chained, locked with a key, and stored in a closet. (Docket No. 190 at 16). Defendant

returned to South Florida from a trip to Atlanta despite knowing he was under investigation,

whereupon he was arrested at his home without incident. A large number of family and friends

appeared, testified, and co-signed bonds on Defendant’s behalf.

       “Even when a defendant satisfies his burden of production, however, ‘the presumption

favoring detention does not disappear entirely, but remains a factor to be considered among those

weighed by the district court.’” Stone, 608 F.3d at 945 (citation omitted). Thus the Court

considers the § 3142(g) factors discussed supra. The nature of the offense charged reflects

“Congress’s substantive judgment that particular classes of offenders should ordinarily be

detained prior to trial.” Id. The particular circumstances of this offense are not especially cruel

or outrageous, though, and the record indicates uncertainty as to whether Defendant would be

eligible for a sentence greater than 121 months based upon the evidence proffered to date. In

other words, at this point he barely crosses the threshold triggering the presumption, and so while

the first factor weighs in favor of detention, it is not overwhelmingly so.

       As for the second factor, the weight of the evidence against Defendant is strong, but only

up to a point. The government proffered evidence from wiretaps, Defendant’s statements in

custody, and a co-defendant’s testimony.          However, despite wiretapping and otherwise

investigating Defendant between December 2012 and May 2013, Special Agent Robinson could



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not testify to evidence of drug shipments in three of the six months. And so, while the evidence

of some criminal conduct is strong, the evidence of presumptively dangerous (i.e., eligible for a

120-month sentence) criminal conduct proffered to date—Defendant’s self-incriminating

acceptance of an estimate by law enforcement agents—is not. The second factor does not weigh

heavily in favor of pretrial detention.

        Factors three and four, in contrast, weigh strongly in favor of pretrial release for the

reasons explained on the record by the Magistrate Judge. Defendant’s particular history and

characteristics give no indication that pretrial release with bonds and strict curfews enforced by

electronic monitoring will be unable to ensure community safety or the integrity of this

prosecution. And recognizing that “the dangerousness inquiry must be an individualized one,”

id. at 946, the Court finds that Defendant’s long history in and many connections to the

community,1 his continued self-employment, and the strict terms of the proposed pretrial release

measures in this case, minimize the risk of danger to others or the community. Moreover, it is

not appropriate for the government to get another bite at the apple in the form of a second

evidentiary hearing to offer further proof in light of this analysis.

        Perhaps recognizing all of the above, Pretrial Services apparently recommended a

percentage bond with a Nebbia condition in this case, and the United States Attorney for the

Middle District of Tennessee negotiated at some length with Defendant about the possibility of

pretrial release. Like the Magistrate Judge, the Court finds that the government has not shown

by clear and convincing evidence that “no condition or combination of conditions will


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 “‘[C]ommunity’ in [18 U.S.C. § 3142(g)] embraces both the community in which the charges are
brought and also a community in the United States to which the defendant has ties.” United States v.
Townsend, 897 F.2d 989, 995 (9th Cir. 1990), accord United States v. Hir, 517 F.3d 1081, 1088 n.4 (9th
Cir. 2008).


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reasonably assure the appearance of the person as required and the safety of any other person and

the community.” 18 U.S.C. § 3142(e).

       Accordingly, the government’s motion for revocation and/or a second evidentiary hearing

(Docket No. 157) is hereby DENIED. Noting the stays issued in this case on June 7, 2013, the

Court hereby directs the government to apprise Magistrate Judge Jonathan Goodman of the

Southern District of Florida of this ruling.

       It is SO ORDERED.

                                                    ____________________________________
                                                    KEVIN H. SHARP
                                                    UNITED STATES DISTRICT JUDGE




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